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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

In Re:                                             )             Chapter 7
DAVID WRIGHT                                       )
DEBRA WRIGHT,                                      )             Bk. No. 19-30304
       Debtors.                                    )


                                                  ORDER

       This matter comes before the Court on the Debtors’ Motion for Extension of the Discharge

Date. IT IS ORDERED that the Motion is GRANTED. The discharge date is extended to August

2, 2019 for the sole purpose of allowing the debtors an opportunity to file reaffirmation

agreements.

       Counsel for the moving party shall serve a copy of this Order by mail to all interested

parties who were not served electronically.




ENTERED: July 3, 2019
                                                    /s/ Laura K. Grandy
                                     __________________________________________________________________________________________

                                      UNITED STATES BANKRUPTCY JUDGE-1
